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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WISCONSIN

ESTATE OF DANTE WILSON,
by its Special Administrator,
Judy Wilson
                                                    AMENDED COMPLAINT
                                                    Case No. 17 CV 737

              Plaintiff,

       and

KE-YON HANDLEY, DANTE WILSON, JR.,
DANTECIA WILSON, KEJUAN HILL,
NATEISHA SMITH AND SASHA REED,

              Plaintiff-Intervenors

v.

ADVANCED CORRECTIONAL HEALTHCARE, INC., and
KIM A. BEEDE, individually

              Defendants.


     PLAINTIFF-INTERVENORS’ AMENDED COMPLAINT IN INTERVENTION


       Plaintiff-Intervenors, through their undersigned attorneys, and as for a cause of action

against the above-named Defendants, state the following:

                                       INTRODUCTION

       1.     This is a wrongful death action brought pursuant to Wis. Stat. § 895.04, by the

descendants of Dante Wilson. Dante Wilson died as a result of the defendants’ deliberate

indifference to and reckless neglect of a known serious medical need.

       2.     Judy Wilson, the Special Administrator of the Estate of Dante Wilson, filed suit

against the above-named defendants on September 25, 2017. Dkt. 1.
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                                        JURISDICTION

       3.      This action originally arose under 42 U.S.C. § 1983, via the complaint filed by

Special Administrator Judy Wilson, on behalf of the Estate of Dante Wilson. This Court has

supplemental jurisdiction over Plaintiff-Intervenors’ claims pursuant to 28 U.S.C. § 1367.

                             PLAINTIFF-INTERVENOR PARTIES

       4.      Plaintiff-Intervenor Ke-yon Handley is a child/descendant of Dante Wilson.

       5.      Plaintiff-Intervenor Dante Wilson, Jr. is a child/descendant of Dante Wilson.

       6.      Plaintiff-Intervenor Dantecia Wilson is a child/descendant of Dante Wilson.

       7.      Plaintiff-Intervenor Kejuan Hill is a child/descendant of Dante Wilson.

       8.      Plaintiff-Intervenor Nateisha Smith is a child/descendant of Dante Wilson.

       9.      Plaintiff-Intervenor Sasha Reed is a child/descendant of Dante Wilson.

                                   STATEMENT OF FACTS

       10.     Plaintiff-Intervenors join in, and incorporate by reference, all factual allegations

made in the original complaint, filed by Special Administrator Judy Wilson.

                      STATEMENT OF CLAIM – WRONGFUL DEATH

       11.     Wisconsin Statute § 895.04 affords the Plaintiff-Intervenors the right to bring

claims for the wrongful death of their father, Dante Wilson.

       12.     The operative facts of Dante Wilson’s death, as set forth by the complaint of

Special Administrator Judy Wilson, and incorporated herein by reference, demonstrate that

Defendants conduct was a substantial factor in, and caused, Mr. Wilson’s death.

       13.     For the conduct as alleged in the complaint of Special Administrator Judy Wilson,

and incorporated herein by reference, under Wis. Stat. § 895.04, Defendants are liable to

Plaintiff-Intervenors for causing the wrongful death of their father, Dante Wilson.


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                                     PRAYER FOR RELIEF

         WHEREFORE, Plaintiff-Intervenors respectfully demand a jury trial and prays that this

court:

         1.     Enter judgment for Plaintiff-Intervenors, and against each defendant, jointly and

severally, awarding compensatory and punitive damages against each defendant.

         2.     Award such other relief as may be just and equitable.

         Dated this 8th day of August, 2018.

                                          GINGRAS CATES & WACHS LLP
                                          Attorneys for Intervenor-Plaintiffs

                                          s/ Scott B. Thompson
                                          Paul A. Kinne
                                          State Bar Number: 1021493
                                          Scott B. Thompson
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